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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                               March 05, 2021
                   IN THE UNITED STATES DISTRICT COURT                       Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


COMMODITY FUTURES TRADING                   §
COMMISSION,                                 §
                                            §
                   Plaintiff,               §
                                            §'
v.                                          §            CIVIL ACTION NO. H-19-2901
                                            §
EOX HOLDINGS LLC and
ANDREW GIZIENSKI,                           §
                                            §
                   Defendants.              §




                       MEMORANDUM OPINION AND ORDER



       This action is brought by plaintiff, Commodity Futures Trading
Commission     {"CFTC"     or    "Plaintiff"),            against   defendants,        EOX
Holdings     LLC     {"EOX")      and   Andrew            Gizienski     ("Gizienski")
{collectively,      "Defendants"),      for violations of the Commodity
Exchange Act       {"CEA") ,    7 U.S. C.        §§    1-27 f,   and the Regulations
promulgated thereunder, 17 C.F.R. parts 1-190, during the period
beginning in or about August of 2013 and continuing through May of
2014 {"relevant period"). Pending before the court is Defendants'
Motion to Compel Discovery Regarding the Source of the CFTC' s
Alleged "Duty of Trust and Confidentiality" {"Defendants' Motion to
Compel") (Docket Entry No. 103) .                     For the reasons stated below
Defendants' Motion to Compel will be denied.
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                             I.   Background

     Plaintiff's complaint alleges that Defendants violated the CEA
and CFTC regulations when Gizienski, a broker at EOX, exercised
discretionary trading authority over an account belonging to an EOX
client at the same time that Gizienski facilitated block trades for
other EOX customers . 1     In pertinent part Plaintiff's Complaint
alleges that "[a]t all relevant times, Defendants owed duties of
trust and confidentiality to EOX customers by law or rule, by
agreement, and by understanding." 2
     On March 9, 2020, defense counsel served EOX Holdings Fourth
Set of Interrogatories and Second Set of Production Requests
seeking, inter alia,
     rules of other "registered entit[ies]" that may provide
     a source [of] that supposed duty or that might negate
     that source. . .
             1.   For each and every Exchange, Board of
             Trade or Other Trading Market Entity, identify
             each and every rule and/or other policy or
             guidance of any kind whatsoever, and any
             amendment thereto, that prohibits or at any
             time prohibited,    limits or limited,      or
             regulates or regulated in any way whatsoever
             the disclosure of information by one party to
             any counterparty and/or potential counterparty
             to a block trade and/or potential block trade

     1
      Complaint for Injunctive Relief, Civil Monetary Penalties,
and Other Equitable Relief ("Complaint") , Docket Entry No. 1,
pp. 16 18 11 75-85. Page numbers for docket entries in the record
refer to the pagination inserted at the top of the page by the
court's electronic filing system.
     2
         Id. at 5   1 20.
                                    -2-
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          (including but not limited to the types of
          disclosures involved in this case that You are
          contending were improper). If any such entity
          does not have or did not have any such rule or
          other published mandatory policy, state \\None"
          for that entity.
          2.    For each and every Exchange, Board of
          Trade or Other Trading Market Entity, identify
          each and every rule and/or other policy or
          guidance of any kind whatsoever, and any
          amendment thereto (including but not limited
          to CME Rule 532, CBOT Rule 532, NYMEX Rule
          532 1 COMEX Rule 532, and ICE Europe Futures
          Rule G.4) that (1) exempts parties and
          counterparties in block trades and/or the
          negotiation of block trades from .         any
          rule or other published mandatory policy that
          prohibits or at any time prohibited, limits or
          limited� or regulates or regulated in any way
          whatsoever the disclosure of information by
          one party to any counterparty and/or potential
          counterparty to a block trade and/or potential
          block    trade,   including   the   types   of
          disclosures involved in this case that You are
          contending were improper 1 and/or (2) permits
          them, whether conditionally or not, to
          disclose such information and/or to engage in
          pre-execution     communications,    including
          communications for the purpose of discerning
          interest in the execution of a transaction
          prior to the terms of an order being submitted
          for execution.   If any such entity does not
          have or did not have any such rule or other
          published mandatory policy, state "None" for
          that entity. 3


     3
      Defendants' Motion to Compel, Docket Entry No. 103, pp. 7 8
(quoting Defendant EOX Holdings LLC's Fourth Set of Interrogatories
and Second Set of Production Requests ("EOX's Interrogatories and
Production Requests"), Exhibit 12 to Defendants' Motion to Compel,
Docket Entry No. 103-1, pp. 79-80, Interrogatories 1 and 2).
Although the title of Exhibit 12 includes the words "Second Set of
Production Requests," Defendants' Motion to Compel cites Exhibit 12
as including a "Third Set of Production Requests."        To avoid
confusion, the court will refer to Exhibit 12 as "EOX's
Interrogatories and Production Requests."
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       On April 8, 2020, Plaintiff responded to EOX's Interrogatories
and    Production    Requests    generally    by   asserting    a   number     of
objections, and specifically as follows:
       Interrogatory No. 11: 4     •


       RESPONSE:
            The Commission objects to Interrogatory No. 11 on
       the grounds that it is overbroad, unduly burdensome and
       beyond the scope of permissible discovery because it
       seeks information that is irrelevant to the parties'
       claims and defenses and it is not proportional to the
       needs of the case pursuant to Fed. R. Civ. P. 26(b) to
       the extent it seeks "every rule and/or policy or guidance
       of any kind whatsoever" (collectively "Rules and
       Policies") from "each and every Exchange, Board of Trade
       or Other Trading Market Entity" (collectively "Exchanges
       and Trading Entities") because every Rule and Policy from
       every Exchange and Trading Entity is not relevant to the
       issues in this litigation.       The Commission further
       objects to Interrogatory No. 11 to the extent it seeks
       information that is not in the Commission's possession,
       custody or control, and on the basis that it seeks
       information that is readily accessible to Defendants.
       Providing    such   information    in    answering   this
       interrogatory would be oppressive, unduly burdensome and
       unnecessarily expensive, and the burden of providing such
       information    in  answering    this   interrogatory   is
       substantially the same or less for Defendants as for the
       Commission. See Federal Rule of Civil Procedure 33(d).

            Subject to and without waiving these objections and
       the General objections, the Commission refers to its
       answer to Interrogatory No. 7. As stated in its answer


      The Plaintiff "re-numbered Defendants' Fourth Set of
       4

Interrogatories to reflect the total number of interrogatories
served upon the Commission.     As a result, the Interrogatories
referenced are numbered 11 and 12, respectively, in the
Commission's responses." Plaintiff's Response in Opposition to
Defendants' Motion to Compel Discovery Regarding the Source of the
CFTC's Alleged "Duty of Trust and Confidentiality" ("Plaintiff's
Response"), Docket Entry No. 105, p. 11 n.3.
                                       -4-
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     to Interrogatory No. 7, the Commission's investigation
     continues, and the Commission reserves the right to
     supplement this answer after conducting additional
     discovery. The Commission further refers to ECF Nos. 1
     and 35.
     INTERROGATORY NO. 12:
     RESPONSE:
          The Commission objects to Interrogatory No. 12 on
     the grounds that it is overbroad, unduly burdensome and
     beyond the scope of permissible discovery because it
     seeks information that is irrelevant to the parties'
     claims and defenses and it is not proportional to the
     needs of the case pursuant to Fed. R. Civ. P. 26(b) to
     the extent it seeks "every rule and/or policy or guidance
     of any kind whatsoever" (collectively "Rules and
     Policies") from "each and every Exchange, Board of Trade
     or Other Trading Market Entity" (collectively "Exchanges
     and Trading Entities") because every Rule and Policy from
     every Exchange and Trading Entity is not relevant to the
     issues in this litigation.       The Commission further
     objects to Interrogatory No. 12 to the extent it seeks
     information that is not in the Commission's possession,
     custody or control, and on the basis that it seeks
     information that is readily accessible to Defendants.
     Providing    such   information    in    answering   this
     interrogatory would be oppressive, unduly burdensome and
     unnecessarily expensive, and the burden of providing such
     information    in  answering    this   interrogatory   is
     substantially the same or less for Defendants as for the
     commission.     See Federal Rule of Civil Procedure
     33(d).
          Subject to and without waiving these objections and
     the General objections, the Commission refers Defendants
     to CFTC-02-0000000932-1062. The Commission's investiga­
     ion continues, and the Commission reserves the right to
     supplement this answer after conducting additional
     discovery. 5
     Citing Federal Rule of Civil Procedure 37(a)(1), Defendants
move the court "to compel Plaintiff                to respond to [EOX's

     5
      Plaintiff's   Response   to   Defendants'   Fourth   Set   of
Interrogatories, Exhibit 13 to Defendants' Motion to Compel, Docket
Entry No. 103-1, pp. 88-90.
                                   -5-
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Interrogatories and Production Requests] directed at the source of

the supposed duty of 'trust and confidentiality' that the CFTC
seeks to impose on [them]." 6


                        II.   Standard of Review

     Federal Rule of Civil Procedure 37(a)(3)(B) allows a party
seeking discovery to move for an order compelling production
against another party when the latter             has failed to answer
interrogatories submitted under Federal Rule of Civil Procedure 33,
or failed to produce documents requested under Federal Rule of
Civil Procedure 34.      Fed. R. Civ. P. 37(a)(3)(B)(iii)-(iv).             See
Crosswhite v. Lexington Insurance Co., 321 F. App'x 365, 368 (5th
Cir. 2009) ( "A party may move to compel production of materials
that are within the scope of discovery and have been requested but
not received.").     "[A]n evasive or incomplete disclosure, answer,
or response must be treated as a failure to disclose, answer, or
respond."     Fed. R. Civ. P. 37(a)(4).        "[A] party is subject to
sanctions under Rule 37(c)(1) if the            'party fails to provide
information or identify a witness as required by Rule 26(a) or (e),
           unless the failure was substantially justified or is
harmless.'"     Olivarez v. GEO Group, Inc., 844 F.3d 200, 203 (5th
Cir. 2016). The party filing the motion to compel bears the burden
of showing that the materials and information are within the scope



     6
         Defendants' Motion to Compel, Docket Entry No. 103, p. 1.
                                    -6-
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of permissible discovery and that Rule 26(g} (l)'s certification

requirement has been satisfied.                See Carr v. State Farm Mutual
Automobile Insurance Co., 312 F.R.D. 459, 469 (N.D. Tex. 2015).
Once the moving party establishes that the materials requested are
within the scope of permissible discovery the burden shifts to the
party resisting a motion to compel who "must show specifically how
            each interrogatory is not relevant or how each question is

overly broad, burdensome or oppressive."                 0'Bryant v. Walgreen Co.,
No. 19-60363, 802 F. App'x 826, 833 (5th Cir. 2020) (per curiam)
(quoting McLeod, Alexander, Powel              &   Apffel, P.C. v. Quarles, 894
F.2d 1482, 1485 (5th Cir. 1990)).


                                 III.    Analysis

        Defendants move the court to compel Plaintiff to respond to
EOX's Interrogatories and Production Requests directed at the
source of the supposed duty of "trust and confidentiality" that the
Plaintiff seeks to impose on the Defendants. 7                     Defendants argue
that        their    "simultaneous     production        requests       required   the

production          of   the   rules    and        all   related       documents   and
communications regarding their promulgation,                   submission to the
CFTC,        approval and amendment, us and that             "[t] he    Interrogatory
includes CME Rules because an important question is what form of



        7
            Id. at 1.
        8
            Id. at 8.
                                         -7-
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Rule 526, that the CFTC cites for the supposed duty, in 2013-14

when the instant trades occurred. " 9           Defendants argue that they
also requested "the production of all documents related to any
other investigation or proceeding by the CFTC into block trading or
'insider trading,' including two cases the CFTC has touted as part
of its 'Insider Trading Task Force.' 1110           Defendants argue that
Plaintiff made a blanket objection to all of their discovery
requests, interrogatories, and production requests on essentially
the same grounds, and that answers provided to Production Requests
2,   3, and 6 were also incorrect insofar as they stated that
Plaintiff had already produced responsive documents, i.e., "CFTC-
02-0000000933-2926" and "CFTC-02-0000000932-1062" because "those
document ranges contain nothing responsive and are merely some bank
records, correspondence by IFUS, and trade documents, including a
1500 page 'trade register' that states the details of hundreds of
trades      (CFTC-XX-XXXXXXX 1411-2910). " 11      Defendants    argue    that

Plaintiff's "blanket objections on various grounds:                   burden,
proportionality, availability from other sources,                        [and]
'relevancy'            [a)ll are meritless."u




       11Id. at 8-9.
      Id. at 9.
       12
                  See also Defendants' Reply on Their Motion to
Compel Discovery Regarding the Source of the CFTC's Alleged "Duty
of Trust and Confidentiality" ("Defendants' Reply"), Docket Entry
                                       8-
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       Asserting that "[t]he Commission responded to Defendants'

Interrogatory No. 7, the request at the center of this dispute, on
November 21, 2019," 13 Plaintiff argues that Defendants' Motion to
Compel should be denied because (1) Defendants failed to meet and
confer on all the discovery issues;             (2) Plaintiff adequately
responded with respect to the "understanding"               in the industry
regarding a duty of trust and confidentiality; (3) Plaintiff's
response and objections to Defendants' discovery requests related
to "each and every other Exchange, Board of Trade or Other Trading
Market Entity" are meritorious; and (4) Plaintiff's response and
objections to Defendants' discovery requests related to the Insider
Trading Task Force and other insider trading cases are meritorious.


A.     Applicable Law

       "[T]he district court has wide discretion in determining the
scope and effect of discovery."         Quintero v. Klaveness Ship Lines,
914 F.2d 717, 724 (5th Cir. 1990), cert. denied, 111 S. Ct. 1322
{1991).       Rule 26(b) (1) generally allows a party to
       obtain discovery regarding any nonprivileged matter that
       is relevant to any party's claim or defense and
       proportional to the needs of the case, considering the
       importance of the issues at stake in the action, the
       amount in controversy, the parties' relative access to
       relevant information, the parties' resources, the
       importance of the discovery in resolving the issues, and
       whether the burden or expense of the proposed discovery


No. 106, pp. 4-7.
       13   Plaintiff's Response, Docket Entry No. 105, p. 4.
                                      -9-
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     outweighs its likely benefit. Information within this
     scope of discovery need not be admissible in evidence to
     be discoverable.
Fed. R. Civ. P. 26(b) (1).
     To be relevant under Rule 26(b) (1), a document or
     information need not, by itself, prove or disprove a
     claim or defense or have strong probative force or value.
     If it were otherwise, it would make little sense for
     Rule 26(b) (1) to direct courts to consider whether
     discovery that is relevant to any party's claim or
     defense is also important in resolving the issues.
Samsung Electronics America, Inc. v. Yang Kun Chung, 321 F.R.D.
250, 280 (N.D. Tex. 2017). Proportionality takes into account "the
amount in controversy, the parties' relative access to relevant
information,    the   parties'   resources,    the   importance     of   the
discovery in resolving the issues, and whether the burden or

expense           outweighs its likely benefit."            Fed. R. Civ.

P. 26 (b)(1).    A party may withhold information that would be

otherwise discoverable on the basis of privilege, Fed. R. Civ. P.
26(b)(1), but it must expressly make the claim and describe the
nature of the document being withheld, Fed. R. Civ. P. 26(b) (5).
The court must limit discovery that it determines is "unreasonably
cumulative or duplicative," that the requesting party \'has had
ample opportunity to obtain,"        or that is      '\outside the scope
permitted by Rule 26(b) (1)."     Fed. R. Civ. P. 26(b) (2) (C).
     Federal Rule of Civil Procedure 33 allows a party to "serve on
any other party no more than 25 written interrogatories, including
all discrete subparts."    Fed. R. Civ. P. 33 (a) (1).     "Leave to serve


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additional interrogatories may be granted to the extent consistent

with Rule 26(b) (1) and (2)."           Id.     "An interrogatory may relate to

any matter that may be inquired into under Rule 26(b) ."                   Fed. R.

Civ. P. 33 (a) (2).

       Federal Rule of Civil Procedure 34 allows a party to request

production      or     inspection       of    "any    designated     documents     or

electronically stored information"                as well as       "any designated

tangible things."          Fed. R. Civ. P. 34(a)(l)(A)-(B).               Any such

request "must describe with reasonable particularity each item or

category of items to be inspected" and "must specify a reasonable

time, place, and manner for the inspection and for performing the

related acts."         Fed. R. Civ P. 34(b) (1)(A) - (B).

        "The party resisting discovery must show specifically how each

discovery request is not relevant or otherwise objectionable."

Samsung,      321 F.R.D. at 283 (citing McLeod,              894 F.2d at 1485).

"Failing to do so . . . makes such an usupported objection nothing

more than unsustainable boilerplate."                Id. (quoting Heller v. City

of Dallas, 303 F.R.D. 466, 490 (N.D. Tex. 2014)).


B.     Application of the Law to the Facts

       1.     Defendants' Motion Contains a Certification of Conferral

       Rule    37(a)    requires    a    motion      to   compel   to   "include   a

certification that the movant has in good faith conferred or

attempted to confer with the person or party failing to make

disclosure or discovery in an effort to obtain it without court

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order."       Fed. R. Civ. P. 37(a)(1).           The first page of Defendants'

Motion       to    Compel    contains     a   "Certification       of      Conferral."
Plaintiff acknowledges that               "[o]n    June 9,    2020,      counsel for
Defendants and counsel for the Commission held a telephonic meet
and confer regarding the response to Interrogatory No. 7 that the
Commission served on November 21,                 2019." 14   Although Plaintiff
argues that Defendants' Motion to Compel should be denied because
"[c]ounsel for Defendants never raised his concerns with the
Commission's response to any other discovery request, " 15 Plaintiff's
response to the interrogatories posed in EOX's Interrogatories and
Production Requests refers to its answer to Interrogatory No. 7,
and     Plaintiff       argues    that    "[t]he    Commission     fulfilled       its
obligation under Rule 33 with its response to                           Interrogatory
No. 7. " 16       Because Plaintiff responded to Interrogatory No. 1 of
EOX's       Interrogatories       and    Production     Requests      by    referring
Defendants to Plaintiff's response to Interrogatory No. 7, and
because Plaintiff's Response acknowledges that opposing counsel
held a telephonic meet and confer regarding the response to
Interrogatory No .          7,   the court concludes that Defendants have
satisfied Rule 37(a)'s certification requirement, and that their
Motion to Compel should not be denied for failure to satisfy that
requirement.

      14
           Id. at 5.
      isrd.
      16
           Id. at 10.
                                         -12-
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     2.      Plaintiff Has Adequately Responded with Respect to the
             Alleged "Duty of Trust and Confidentiality"
     The pending motion seeks to compel the Plaintiff "to respond
to [EOX's Interrogatories and Production Requests] directed at the
source of the supposed duty of 'trust and confidentiality' that the
CFTC seeks to impose on Defendants. " 17         Plaintiff's Response to
Interrogatory     No.   1   in   EOX's   Interrogatories    and    Production
Requests sets forth a number of objections, and then states that
"[s]ubject to and without waiving these objections, the Commission
refers to its answer to Interrogatory No.             7. " 18     Defendants'
Interrogatory No. 7 asked the Commission to:
     Identify    each    "law,"    "rule,"    "agreement"    and
     "understanding" pursuant to which you contend Defendants
     owed duties of trust or confidentiality, and each EOX
     customer to whom you contend owed such duties as a result
     of each "law," "rule," "agreement" and/ or "understanding,"
     as alleged in paragraph 20 of the complaint. 19
Plaintiff provided detailed responses to each of the four parts of
this request. 20 Defendants fail to explain how or why the responses
that Plaintiff provided to Interrogatory No. 7 fail to adequately
respond to their request for information with respect to "the
source of the supposed duty of 'trust and confidentiality' that the


     17
          Defendants' Motion to Compel, Docket Entry No. 103, p. 1.
      Plaintiff's Response to Defendants'
     18
                                                  Fourth Set of
Interrogatories, Exhibit 13 to Defendants' Motion to Compel, Docket
Entry No. 103-1, p. 89.
     19
          Plaintiff's Response, Docket Entry No. 105, p. 6.
      See Response to Interrogatory No. 7, Exhibit 1 to Plaintiff's
     20

Response, Docket Entry No. 105-1, pp. 2-8.
                                    -13-
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CFTC seeks to impose on Defendants. " 21        The court has carefully

reviewed Plaintiff's response to Interrogatory No. 7 and concludes
that plaintiff has adequately responded to Defendants' request for
information with respect to the CFTC's alleged "duty of trust and
confidentiality."     Moreover, since "a party is subject to sanctions
under Rule 37(c)(1) if the 'party fails to provide information or
identify a witness as required by Rule 26(a) or (e), . . . unless
the failure was substantially justified or is harmless,'" Olivarez,
844 F.3d at 203, if Plaintiff attempts to rely on any additional
sources for the "duty of trust and confidentiality" that have not
been disclosed to Defendants during discovery, Defendants may move
the court to strike or seek other appropriate relief.

     3.      Plaintiff's Objections to Defendants' Discovery Requests
             Related to "Each and Every Other Exchange, Board of Trade
             or Other Trading Market Entity" Are Meritorious
     EOX's Interrogatories Nos. 1 and 2 ask Plaintiff to identify
"[f] or each and every Exchange, Board of Trade or Other Trading
Market Entity,"
     [(l)] each and every rule and/or other policy or guidance
     of any kind whatsoever, and any amendment thereto, that
     prohibits or at any time prohibited, limits or limited,
     or regulates or regulated in any way whatsoever the
     disclosure of information by one party to any
     counterparty and/or potential counterparty to a block
     trade and/or potential block trade (including but not
     limited to the types of disclosures involved in this case
     that You are contending were improper.); and




     21
          Defendants' Motion to Compel, Docket Entry No. 103, p. 1.
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      [(2)] each and every rule and/or other policy or guidance
     of any kind whatsoever, and any amendment thereto
     (including but not limited to CME Rule 532, CBOT
     Rule 532, NYMEX Rule 532, COMEX Rule 532, and ICE Europe
     Futures Rule G.4), that (1) exempts parties and
     counterparties in block trades and/or the negotiation of
     block trades from           any rule or other published
     mandatory policy that prohibits or at any time
     prohibited, limits or limited, or regulates or regulated
     in any way whatsoever the disclosure of information by
     one party to any counterparty and/or potential
     counterparty to a block trade and/or potential block
     trade, including the types of disclosures involved in
     this case that You are contending were improper, and/or
     (2) permits them, whether conditionally or not, to
     disclose such information and/or to engage in pre­
     execution communications, including communications for
     the purpose of discerning interest in the execution of a
     transaction prior to the terms of an order being
     submitted for execution. 22
     Pla.intiff responded to these interrogatories by objecting
based on their overbreadth, irrelevance to the allegations of the
Complaint, the burden of responding to it, and the fact that the
information requested is not in the Commission's control.                The
Plaintiff also responded to Interrogatory No. 1 by referencing
Interrogatory No. 7, and to Interrogatory No. 2 by referencing all
documents and communications it had with an exchange related to
this matter (IFUS), which it had already produced. 23
     Plaintiff argues that Defendants' requests .related to "Each
and Every Other Exchange, Board of Trade or Other Trading Market


     22 EOX's Interrogatories and Production Requests, Exhibit 12 to
Defendants' Motion to Compel, Docket Entry No. 103-1, pp. 79-80.
      Plaintiff's Response, Docket Entry No. 105, pp. 11-12. See
     23

also Plaintiff's Response to Defendants'          Fourth Set of
Interrogatories, Exhibit 13 to Defendants' Motion to Compel, Docket
Entry No. 103-1, pp. 88 90.
                                     15-
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Entity" are overbroad because Defendants define "Exchange, Board of

Trade or Other Trading Market Entity," as
     every Registered Entity (as that term is used in the
     [CEA], as amended and any Regulations promulgated by
     You), exchange, futures exchange, options exchange,
     contract market, board of trade, foreign board of trade,
     derivatives clearing organization, trading facility,
     derivative, transaction execution facility, swap data
     repository, swap execution facility, and/or any other
     organization or entity of any kind, in existence and/or
     operating since January 1, 1983 (including but not
     limited to during the Relevant Period alleged in
     Paragraph 1 of Your Complaint in this Action), whether or
     not registered with or regulated by You. 24
Asserting that "[s]uch an all-encompassing definition is overbroad
on its face, 1125 and that "the Exchange Requests are overbroad in

that they seek information from all the above-mentioned entities
related to the prohibition or regulation of the disclosure of
confidential information but also for any information that exempts
or permits such disclosures," 26 Plaintiff argues that "[t]his Court
should deny Defendants' Motion to Compel additional responses to
such an unwieldy request and uphold the Commission's objections. " 27
Asserting that "the Exchange Requests are improper because they
seek documents of third parties from the Commission, 1128 and that

      Plaintiff's Response, Docket Entry No. 105, p. 12 (quoting
     24

EOX's Interrogatories and Production Requests, Exhibit 12 to
Defendants' Motion to Compel, Docket Entry No. 103-1, pp. 77-78
1 9).
     25
          Id. at 13.




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"the Commission does not allege that the transactions at issue were

governed by the rules or policies of any exchange other than
IFUS,   1129   Plaintiff argues that Defendants have failed to establish

that     the       Commission   has   control     or   possession    of    documents
requested in the Exchange Requests, and that these requests are
neither relevant nor proportional to the needs of the case.30
        "If a discovery request is overbroad, the responding party
must, to comply with Rule 33 or Rule 34, explain the extent to
which          is overbroad and answer or respond to the extent that it
is not          and explain the scope of what the responding party
answering or responding to."             Heller, 303 F.R.D. at 488 (citing
Consumer Electronics Association v. Compras and Buys Magazine,
Inc.,        No.   08-21085-CIV,      2008   WL   4327253,   at     *2    (S.D.   Fla.
September 18, 2008) ("If there is an                   objection based upon an
unduly broad scope, such as time frame or geographic location,
discovery should be provided as to those matters within the scope
which is not disputed.                For example,     if discovery is sought
nationwide for a ten-year period, and the responding party objects
on the grounds that only a five-year period limited to activities
in the state of Florida is appropriate, the responding party shall
provide responsive discovery falling within the five-year period as
to the State of Florida.").



        29
             Id. at 14.
        30
             Id. at 13-15.
                                         -17-
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       Acknowledging that Plaintiff has identified relevant rules
from three           entities,       Defendants         reply    that    "[t]he      discovery
requests at issue simply require the CFTC to identify the rules of
entities other than the three it does specifically cite to (IFUS,
CME & FINRA) that pertain to block trading. " 31 Asserting that their
discovery requests \\seek information and materials only in the
CFTC's possession,          1132
                                   and that they "are entitled to the discovery
at issue:            other exchange rules that will further inform the
existence        and        scope        of     the     CFTC's       so-called        'industry
understanding, , " 33 Defendants argue that the CFTC cannot "claim that
rules of some industry entities create an 'understanding' about a
supposed duty of confidentiality in block trading, while refusing
to    disclose          rules       of        other     entit    s    that        negate   this
understanding." 34
       Plaintiff has responded to Defendants' discovery requests by
identifying the only rule it contends applies to the claims
asserted in this action,                        , IFUS Rule 4. 02 (i)        35
                                                                                    Defendants
request rules and amendments applicable to a broad universe of both
domestic and foreign entities without demonstrating either that


       31
            Defendants' Reply, Docket Entry No. 106, p. 6.
                at   3-4.

       33
                at 8.
                at 8-9.
          Response to Interrogatory No. 7, Exhibit 1 to Plaintiff's
Response, Docket Entry No. 105-1, p. 4 1 2.
                                                 -18-
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Plainti       possesses the information sought or that Defendants are

unable to obtain that information from publicly available sources.
Accordingly, the court concludes that Plaintiff's objections to
Defendants' request for additional information related to rules and
amendments for "Each and Every Other Exchange, Board of Trade or
Other Trading Market Entity'' are meritorious.        Because \\a party is
subject to sanctions under Rule 37(c) (1) if the 'party               ls to
provide information .       . as required by Rule 26(a) or (e),
unless the failure was substantially justified or is harmless,'"
Olivarez, 844 F.3d at 203, if Plainti           attempts to rely on any
rules that have not been disclosed to Defendants during discovery,
Defendants may move the court for appropriate relief.

    4.       Plaintiff's Response and Objections to Defendants'
             Discovery Requests Related to the Insider Trading Task
             Force and Other Insider Trading Cases are Meritorious
     Defendants contend that
     [g] iven the CFTC's admission that there are no precedents
    for this case, and because the CFTC's press release
    nevertheless trumpeted the connection between this case
    and its insider trading \\task force," Defendants also
    requested the production of all documents related to any
    other investigation or proceeding by the CFTC into block
    trading or \\insider trading," including two cases the
    CFTC has touted as part of its "Insider Trading Task
    Force. " 36
Defendants argue that
     the discoverability of the CFTC's insider trading
     materials . . . fairly arises from the CFTC's citation of
     SEC insider trading law as a source of the duty, as well


     36
          Defendants' Motion to Compel, Docket Entry No. 103, p. 8.
                                   -19-
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        as its own chest-pounding press release that cloaked this
        case with its "insider trading" program.



             Given that the contours of insider trading in the
        futures, options and derivatives arena is fraught with
        uncertainty, therefore, policy statements, briefs and
        filings in other cases, and all related materials are
        clearly relevant to figuring out what the CFTC's own view
        is of the breadth and scope of the statutes and
        regulations it seeks to enforce for the block trades at
        issue here. 37

        Plaintiff responds that "[e]ven if the Commission is pursuing

a novel legal theory,              the merit of that theory is properly

addressed in a motion for summary judgment, not a motion to compel

discovery."38        Plaintiff also responds that

        [t]his request is overbroad because it seeks the
        production of (1) every document and communication
        related in any way to anything the CFTC (department of
        enforcement or otherwise) has ever done, without any time
        limitation, that pertains to disclosing information and
        block trading or insider trading, and ( 2) any cases
        originated, developed, assigned to [be] reviewed by or
        handled in any way by the CFTC's Insider Trading Task
        Force (the "Insider Trading Request").      39



        To the extent that Defendants seek policy statements, briefs,

and    filings      from   other    cases,     those   are   publicly   available

documents that are equally accessible to both parties.                  Since the

parties appear to agree that the Commission is pursuing a novel

legal theory in this case, Defendants have failed to establish how


      Id. at 12-13.
        37
                              See also Defendants' Reply,          Docket Entry
No. 109, p. 7 (same).
        38
             Plaintiff's Response, Docket Entry No. 105, p. 15.
        39
             Id. at 16.
                                        -20-
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documents from other cases could possibly fall within the scope of

permissible discovery.      See Crosswhite, 321 F. App'x at 368 ("A
party may· move to compel production of materials that are within
the scope of discovery .       .").   Moreover, the merit of any novel
legal theory is properly addressed in             a   motion   for   summary
judgment, not a motion to compel. Accordingly, the court concludes
that Plaintiff's objections to Defendants' request for additional
information related to the Insider Trading Task Force and other
insider trading cases are meritorious.


                      IV.   Conclusions and Order

     For the reasons stated in§ III, above, Defendants' Motion to
Compel Discovery Regarding the Source of the CFTC's Alleged "Duty

of Trust and Confidentiality" (Docket Entry No. 103) is DENIED.

     SIGNED at Houston, Texas, on this the 5th day of March, 2021.




                                               SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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